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17                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19

20   WAYMO LLC,                                    Case No.   3:17-cv-00939-WHA

21                          Plaintiff,             PUBLIC RE-FILING IN RESPONSE TO
                                                   COURT ORDER ON
22          v.                                     COMPREHENSIVE
                                                   ADMINISTRATIVE MOTIONS TO
23   UBER TECHNOLOGIES, INC.,                      FILE UNDER SEAL (DKT. 2685)
     OTTOMOTTO LLC; OTTO TRUCKING
24   LLC,

25                          Defendants.

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     PUBLIC RE-FILING IN RESPONSE TO COURT ORDER
     Case No. 3:17-cv-00939-WHA
     sf-3985096
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 1          In accordance with the Court’s Order on Comprehensive Administrative Motions to File

 2   Under Seal (Dkt. 2685), Uber hereby re-files public versions of the documents whose sealing was

 3   denied in whole or in part.

 4   Dated: January 28, 2019                       MORRISON & FOERSTER LLP
 5

 6                                                 By:       /s/ Arturo J. González
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